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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 COMMSCOPE TECHNOLOGIES LLC,                 )
                                             )
                       Plaintiff,            )   C.A. No. 20-1053-RGA
                                             )
        v.                                   )
                                             )
 ROSENBERGER SITE SOLUTIONS,                 )
 LLC; ROSENBERGER ASIA PACIFIC               )
 ELECTRONIC CO., LTD.;                       )   JURY TRIAL DEMANDED
 ROSENBERGER TECHNOLOGIES                    )
 (KUNSHAN) CO. LTD.;                         )
 ROSENBERGER TECHNOLOGIES                    )
 LLC,                                        )
                                             )
                       Defendants.           )

                                     NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on February 7, 2022, true and correct copies of Plaintiff’s

Seventh Set of Requests for Production (No. 95-153) were caused to be served upon the following

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                                            /s/ Kelly E. Farnan
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Dated: February 7, 2022




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